    Case: 1:17-cv-01640 Document #: 99 Filed: 03/05/18 Page 1 of 4 PageID #:1985



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

BILL A. BUSBICE, JR., an individual;
OLLAWOOD PRODUCTIONS, LLC, a
limited liability company; and ECIBSUB,
LLC, a limited liability company,

                      Plaintiffs,

           v.                                              Case No. 1:17-cv-1640

ADRIAN VUCKOVICH, an individual;                           Honorable Andrea R. Wood
COLLINS, BARGIONE & VUCKOVICH, a
partnership; and DOES 1 – 50, inclusive,                   JURY TRIAL DEMANDED

                      Defendants.

PLAINTIFFS’ MOTION TO COMPEL RESPONSES TO REQUESTS FOR ADMISSION

           Pursuant to Federal Rules of Civil Procedure 26, 36 and 37, Plaintiffs Bill A. Busbice, Jr,

Ollawood Productions, LLC, and Ecibsub, LLC (collectively “Busbice”), respectfully move the

Court for an order compelling Defendants Collins, Bargione & Vuckovich and Adrian

Vuckovich (collectively, “CBV”) to respond to Plaintiffs’ First Set of Requests for Admission

(the “Requests”). Pursuant to Local Rule 37.2, Busbice’s counsel attempted to meet and confer

with counsel for CBV multiple times. (Decl. of Lauren E. Grochow (“Grochow Decl.”) ¶¶ 2-3,

Exs. 1-2.)

           This is the third time Busbice has been forced to move this Court to obtain key discovery

from CBV. CBV, a licensed attorney and litigation law firm, have ignored their obligations

under the Federal Rules of Civil Procedure at every turn. CBV have refused to produce key

responsive documents, refused to respond to interrogatory requests, and now they refuse to

respond to a dozen requests for admission.




34283071
    Case: 1:17-cv-01640 Document #: 99 Filed: 03/05/18 Page 2 of 4 PageID #:1986



           These Requests were not arduous. Each Request referenced a document or

communication and sought that CBV verify that the document was a true and correct copy of the

original. (Id., Ex. 3.) Request Nos. 77 through 88 all referenced correspondence that CBV was a

sender or recipient of. However, CBV refused to respond to each of these Requests, claiming

they have “insufficient knowledge” based on the fact that they “did not produce the referenced

document.” (Id., Ex. 4.) Such a response comes nowhere close to the requirements under

Federal Rule of Civil Procedure 36. When asked to supplement those responses, CBV’s counsel

requested to meet and confer with Busbice’s counsel, but CBV’s counsel never responded to

Busbice’s counsel’s proposed date and time for that meet and confer call. (Grochow Decl. ¶ 3,

Ex. 2.)

           CBV’s refusal to respond is just another one of its obstructionist discovery tactics, which

include CBV insisting that Busbice move the court if they want documents or interrogatory

responses. (See Busbice’s Motion to Compel Interrogatory Responses (Dkt. 92); Busbice’s

Motion to Compel Requests for Production (Dkt. 86).) Such tactics are not only obstructionist,

but sanctionable. Fed. R. Civ. P. 37(c)-(d).

           On January 23, 2017, Busbice served the Requests on CBV. (Ex. 3 (Requests).) Those

Requests sought to streamline the process of authenticating certain documents and

communications produced in this case in preparation for trial. Each document or communication

referenced was either produced by CBV, or reflected that CBV was a recipient of or participant

in the communication. (See, e.g., Ex. 3 at Request No. 77, which references Ex. 5 (the document

produced under Bates No. PLAINTIFFS_00030561).) Indeed, each document or communication

referenced should have been maintained as part of CBV’s client file.




                                                   -2-
34283071
    Case: 1:17-cv-01640 Document #: 99 Filed: 03/05/18 Page 3 of 4 PageID #:1987



           Requests Nos. 77 through 88 all referenced correspondence that should have been in

CBV’s possession and should have been produced by CBV in this litigation, but were not.

Specifically, Requests Nos. 77 through 88 each referenced an email, email chain, or portion of an

email chain that should have been maintained as correspondence in CBV’s client file. However,

CBV refused to substantively respond to each of these Requests. Instead, CBV simply copied

and pasted the same boilerplate language in response to each Request: "Defendants do not have

sufficient knowledge to admit or deny this request because Defendants did not produce the

referenced document.”

           This boilerplate response comes nowhere near close to complying with the response

requirements under Federal Rule of Civil Procedure 36. Under that rule, “an ‘answering party

may not give lack of information of knowledge as a reason for failure to admit or deny unless the

party states that the party has made a reasonable inquiry and that the information known or

readily obtainable by the party is insufficient to enable the party to admit or deny.” Climco Coils

Co. v. Siemens Energy & Automation, Inc., 2006 WL 850969, at *1 (N.D. Ill. Mar. 28, 2006)

(quoting Fed. R. Civ. P. 36). Accordingly, Busbice requested that CBV supplement its

responses. (Grochow Decl., Ex. 1.) However, rather than supplement, CBV requested a meet

and confer. (See id., Ex. 2.) When Busbice’s counsel suggested a time for a meet and confer,

CBV’s attorneys failed to respond or offer an alternative date and time. (See id. ¶ 3, Ex. 2.)

           CBV’s improper cherry-picking of documents to produce has already caused

considerable prejudice to Busbice. CBV now attempts to take further advantage of its discovery

misconduct by refusing to respond to Busbice’s Requests based on the very fact that it

improperly withheld or destroyed documents. Such an untenable position is undoubtedly

prohibited by the rules governing discovery. Thus, Busbice respectfully asks that this Court




                                                 -3-
34283071
    Case: 1:17-cv-01640 Document #: 99 Filed: 03/05/18 Page 4 of 4 PageID #:1988



compel CBV’s responses to Request Nos. 77 through 88 and order that CBV pay for Busbice’s

expenses in having to bring this motion.



Dated: March 5, 2018                       Respectfully submitted,


                                           By: /s/ Lauren E. Grochow
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                                            -4-
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